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JERRY L. BILLINGSLEY,
Plaintiff,
VS.

NO. 02-2920 BV

SHELBY COUNTY, et al.,

\../\_¢`_¢v~\_¢\._r-\_¢\_/`_¢

Defendants.

 

ORDER DENYING DEFENDANT JON KIRKLAND'S MOTION TO STRIKE
PLAINTIFF'S MOTION IN OPPOSITION TO DEFENDANT'S MOTION FOR
SUMMARY JUDGMENT AND THE AFFIDAVIT OF GREGORY WESTBROOK
AND
GRANTING MOTION TO STRIKE PLAINTIFF'S RESPONSE IN SUPPORT OF
PLAINTIFF'S MOTION IN OPPOSITION OF DEFENDANTS’ JOINT MOTION FOR
A MENTAL EXAMINATION OF PLAINTIFF
AND
GRANTING DEFENDANT OFFICER JON KIRKLAND'S MOTION FOR A STATUS
CONFERENCE (NO. 147)

 

Before the court is the April 21, 2005 motion of the defendant
Officer Jon. Kirkland to strike fron\ the record the following
pleadings filed by the pro se plaintiff Jerry L. Billingsley: (1)
Plaintiff’s Motion in Opposition to Defendant's Motion for Summary
Judgment (No. 145); (2) the Affidavit of Gregory Westbrook (No.
145); and (3) Plaintiff's Response in Support of Plaintiff's Motion
in Opposition of Defendants' Joint Motion for a Mental Examination
of Plaintiff (No. 146). As grounds for the nmtion to strike,
Officer Kirkland avers that the plaintiff's opposition to the

defendant's summary judgment motion and the Westbrook affidavit in

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support of the plaintiff’s opposition were untimely served on
Officer Kirkland on April 15, 2005, allegedly four days late, that
the plaintiff's response in support of his motion in opposition to
a mental exam is an improper pleading, and that the certificates of
service on these documents inaccurately reflect earlier dates.
Officer Kirkland also requests a status conference. U.S. District
Judge J. Daniel Breen referred Officer Kirkland's motion to the
United States Magistrate Judge for a determination. For the
following reasons, the motion to strike is granted in part and
denied in part, and the motion for a status conference is granted.

Officer Kirkland timely filed a motion for summary judgment on
March ll, 2005. According to the certificate of service,
Kirkland's motion for summary judgment was served on Billingsley on
March 11, 2005 by mail. Responses to summary judgment motions are
required to be filed within thirty days after service of the
motion. Local Rule 7.2(a)(2). “Whenever a party . . . is required
to do some act within a prescribed period after the service of a
notice or other paper upon the party and the notice or paper is
served upon the party [by mail]. 3 days shall be added to the
prescribed period." FED. R. CIv. P. 6(e). Thus, Billingsley had
through April 13l 2005, to timely respond to Officer Kirkland's
motion for summary judgment. Billingsley states in response to the

motion to strike that he hand-delivered copies of the documents at

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issue to defense counsel on April 14, 2005, by leaving them outside
defense counsel's office after hours and that when he returned the
next day the documents were still there. Accordingly to
Billingsley's response, he then picked up the documents and hand-
delivered them on April 15, 2005. All in all, the summary judgment
response and affidavit were either one or two days late.

The rules of procedure are to be “construed and administered
to secure the just, speedy, and inexpensive determination of every
action.” FmL R. Cmn P. 1. Given Billingsley's pro se status, his
attempts to comply, and under the circumstances, the court finds
that Billingsley's two-day late response should be considered by
the court. ‘Accordingly, Officer Kirkland’s motion to strike
Billingsley's response to the motion for summary judgment and the
accompanying affidavit of Westbrook is denied. Billingsley is
warned, however, that a certificate of service should reflect the
actual date the document was hand-delivered or the date the
document was placed in the mail.

Officer Kirkland's motion to strike Billingsley’s response in
support of his motion in opposition to a mental exam is denied as
moot.

The request for a status conference is granted. A status
conference will be held before Judge Vescovo on Friday, May 20,

2005, at 9:30 a.m. in Courtroom #5, Federal Building, 167 N. Main

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St., Memphis, Tennessee.

IT IS SO ORDERED this llth day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 165 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

